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IN THE CIRCUIT COURT FOR THE
17TH JUDICIAL CIRCUIT IN AND FOR
BROWARD COUNTY, FLORIDA
GUADALUPE MARTINEZ DE MEJIA,

Plaintiff,
VS. Case No: CACE-22-005661 (Div. 21)

KOHL'S, INC., a foreign profit
corporation,

Defendant.
/

COMPLAINT

Plaintiff, GUADALUPE MARTINEZ DE MEJIA, sues Defendant, KOHL'S, INC., a
foreign profit corporation (hereinafter "KOHL'S’”), and states the following:

1. This is a cause of action for damages in excess of $30,000.00.

2. All conditions precedent to filing this action have been complied with,
expired, and/or waived.

3. The incident described herein occurred in Broward County, Fiorida.

4, On or about June 18, 2020, Defendant, KOHL'S, was the owner and in
possession of the premises located at 9001 West Atlantic Boulevard in Coral Springs,
Broward County, Florida, which Defendant operates as a department store.

5, At that time and place, Plaintiff, GUADALUPE MARTINEZ DE MEJIA, was
an invitee lawfully on the premises described above.

6. At that time and place, Plaintiff, GUADALUPE MARTINEZ DE MEJIA, was
injured when she slipped and fell on liquid on the floor near the store’s cashier area.

7. Defendant, KOHL'S, had a duty to maintain the premises in a reasonably

safe condition, correct any dangerous condition of which it either knew or should have
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known by the use of reasonable care, and to warn of any dangerous conditions
concerning which it had, or should have had, knowledge greater than that of its invitees.
Defendant breached all of these duties.

8. Specifically, Defendant, KOHL'S, negligently:

a) Allowed liquid to accumulate and remain on the store's floor for an
unreasonable length of time;

b) Created a slip hazard and dangerous condition on the premises;

c) Allowed a slip hazard and dangerous condition to remain on the
premises for an unreasonable length of time; and

d) Failed to warn the Plaintiff and similarly situated individuals of the
dangerous condition.

Q. Defendant, KOHL'S, knew or, in the exercise of ordinary care, should have
known the premises were not in a reasonably safe condition.

10. Defendant, KOHL'S, had actual or constructive notice of the dangerous
condition.

11. As the direct and proximate result of the negligence of Defendant,
KOHL'S, Plaintiff, GUADALUPE MARTINEZ DE MEJIA, suffered bodily injury and
resulting pain and suffering, disability, disfigurement, mental anguish, loss of capacity
for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatment, and aggravation of a previously existing condition. The losses are either
permanent or continuing and Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff, GUADALUPE MARTINEZ DE MEJIA, demands

judgment for damages against Defendant, KOHL'S.
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Plaintiff demands trial by jury on all issues so triable.

Respectfully submitted this 19" day of April, 2022.

By:_s/ Hubert McGinley
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